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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 20-cr-00152-PAB

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     JAYSON JEFFREY PENN,
2.     MIKELL REEVE FRIES,
3.     SCOTT JAMES BRADY,
4.     ROGER BORN AUSTIN,
5.     TIMOTHY R. MULRENIN,
6.     WILLIAM VINCENT KANTOLA,
7.     JIMMIE LEE LITTLE,
8.     WILLIAM WADE LOVETTE,
9.     GARY BRIAN ROBERTS, and
10.    RICKIE PATTERSON BLAKE,

       Defendants.


 DEFENDANTS’ JOINT MOTION TO REITERATE AND REAFFIRM THEIR PRIOR
    ARGUMENTS, OBJECTIONS, AND POSITIONS TO PRESERVE THEM FOR
                             APPELLATE REVIEW
______________________________________________________________________________

       Defendants Jayson Jeffrey Penn, Mikell Reeve Fries, Scott James Brady, Roger Born

Austin, Timothy R. Mulrenin, William Vincent Kantola, Jimmie Lee Little, William Wade

Lovette, Gary Brian Roberts and Rickie Patterson Blake, by and through their respective counsel,

respectfully move this Court to enter an Order that all prior arguments, objections and positions

asserted by, or adopted by, any Defendant in the first trial of this matter (the “Trial”), be

renewed and preserved for purposes of future appellate review. In support of said Motion,

Defendants state as follows:

       1.      Trial in this matter originally commenced on October 25, 2021. On December 16,

2021, this Court declared a mistrial as to all Defendants after the jury failed to reach a verdict as


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to each of the Defendants. The retrial (“Retrial”) is set to begin February 22, 2022 (Dkt. 925).

On December 22, 2021, the Court entered its Order Re-Setting Trial Dates and Deadlines [Dkt

925]. In that Order, the Court ordered that any party wishing to file substantive motions must

submit a motion for leave to file such motion. The Court indicated that it would not reconsider

its earlier rulings, absent a change in circumstances warranting reconsideration.

       2.      This Motion is intended to reaffirm the Defendants’ previously stated motions,

arguments, objections, responses to government motions and positions and re-assert them in the

Retrial to preserve them for appellate review. Except in those instances, if any, where

Defendants move for reconsideration, Defendants are not asserting a change in circumstances.

This Motion does not seek reconsideration of the Court’s prior rulings. Instead, this Motion seeks

to ensure that all arguments, objections, and positions raised in the First Trial are renewed and

preserved for the Retrial and appellate review of the Trial and Retrial, and not deemed waived or

abandoned in any way. This Motion is without prejudice to any Defendant’s ability to assert a

new or different issue, subject to this Court’s orders.

       3.      Defendants wish to preserve all arguments, objections, and positions, including

but not limited to those stated in (1) previously filed motions, including motions in limine; (2)

previously filed responses to the government’s motions, including motions in limine; (3)

proposed jury instructions and objections to the government’s proposed jury instructions; (4) the

jury instructions given to the jury by the Court, and (5) oral argument made during pre-trial

hearings like the James proceedings and at Trial.

       4.      More specifically, Defendants reiterate and reaffirm their arguments, objections,

and positions in Defendants’ James briefing; Defendants’ Motions to Dismiss; Defendants’

Motions in Limine and other Pretrial Motions [Dkts. 518-521, 523-530]; in opposition to the




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Government’s Omnibus Motion in Limine [542]; Defendants’ Joint Opposition to the

Government’s Omnibus Motions in Limine [560]; Defendants’ Response to the United States’

Motion in Limine Regarding Summary Evidence [564]; Defendants’ Joint Motion to Exclude

the Government’s Proposed Summary Exhibits [715] (which also responded to the United States’

Trial Brief [670]); and Defendants’ Joint Reply in Support of their Motion to Exclude the

Government’s Proposed Summary Exhibits [728].

       5.         Defendants also reiterate, reassert, and reaffirm their arguments, objections, and

positions:

             a.   To exclude government summary exhibits and all newly identified summary

                  exhibits as stated in Defendants’ Motion to Exclude Newly Identified Summary

                  Exhibits [760].

             b. Stated in Defendants’ Joint Objection to the Abuse of Overview Testimony [782].

             c. Stated in Defendants’ Proposed Limiting Instruction for the Government’s

                  Summary Exhibits [870].

             d. Stated and raised in the Court hearings of November 22, 2021 (day 19 of trial)

                  and November 23, 2021 (day 20 of the trial), which Issues are set forth in the

                  transcripts of November 22, 2021, and November 23, 2021.

             e. Stated at the jury instruction conference on December 7, 2021, which are more

                  fully set forth in the official transcript of that hearing.

       6.         Accordingly, Defendants respectfully request that the Court rule that the

Defendants’ previously stated arguments, objections, and positions noted explicitly above and all

others, are expressly preserved for the Retrial and for the purposes of appeal of the Trial and the

Retrial, and enter an Order so stating.




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  Dated: February 3, 2022                     Respectfully submitted,



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  s/ Craig Allen Gillen                   s/ Barry J. Pollack
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 3, 2022, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system which will send a notice of electronic filing to all counsel of
record who have entered notices of appearance in this matter.



                                                              s/ Candace Edington




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